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                                                                    U.S. DlST.:;11., T C· U T
                                                                   OISTH!CT OF VERM ON T
                                                                                   r-·t:._~ll
                       UNITED STATES DISTRJCT COURT
                                 FOR THE                           2021 JUL -6 P, ti : 15
                           DISTRJCT OF VERMONT
                                                                                  CLER~,
                                                                                      ~
KIMBERLY D. CROSSON,                   )
                                       )
                                                                   BY---·--·-,
                                                                     0Fr-, l i .,~ -..1 i ·. • __'· ~ ·. : :- ·-·
                                                                                                                ;>




     Plaintiff,                        )
                                       )
     V.                                )
                                       )
NORTH COUNTRY FEDERAL CREDIT           )    Case No. 5:21-cv-68
UNION; ROBERT MORGAN, CEO;             )
MELISSA JEWETT                         )
                                       )
    V.                                 )
                                       )
ANDREW SOLL; SOCIAL SECURJTY           )    Case No. 5:21-cv-71
ADMINISTRATION                         )
                                       )
     V.                                )
                                       )
TOWN OF BRJGHTON ISLAND POND;          )     Case No. 5:21-cv-72
JOEL T. COPE; MICHAEL STRAIT;          )
JEFFREY NOYES                          )
                                       )
     V.                                )
                                       )
T.J. DONOVAN                           )     Case No. 5:21-cv-76
                                       )
     V.                                )
                                       )
ROBERT MCKENNA; HUGH                   )     Case No. 5:21-cv-77
O'DONNELL; SEAN BRENNAN;               )
MATTHEW BIRMINGHAM                     )
                                       )
     V.                                )
                                       )
MARY HARE; JEFFREY HARE                )     Case No. 5:21-cv-78
                                       )
     V.                                )
                                       )
MICHAEL HARRlNGTON                     )     Case No. 5:21-cv-79
                                       )
     V.                                )
                                       )
                                       )
          Case 5:21-cv-00068-gwc Document 9 Filed 07/07/21 Page 2 of 4




VERMONT LEGAL AIDE; KELLI              )     Case No. 5:21-cv-80
KAZMARKI; JESSICA RADFORD              )
                                       )
     v.                                )
                                       )
VERMONT STATE POLICE; AMY              )     Case No. 5:21-cv-81
BOSARE; JASON LATERNEAU                )
                                       )
     V.                                )
                                       )
KATHRYN PIPER; PIPER LAW FIRM          ))    Case No. 5:21-cv-82
                                       )
     V.                                )
                                       )
T.J. DONOVAN; NORTHEAST                )     Case No. 5:21-cv-88
KINGDOM HUMAN SERVICES                 )
MENTAL HEALTH; DEVIL; PHIL             )
SCOTT; VERMONT STATE REPS              )
                                       )
     V.                                )
                                       )
WINDHAM COUNTY PROBATE                 )     Case No. 5:21-cv-89
COURT; T.J. DONOVAN; RAYMOND           )
MASSUCCO; STEVEN ANKUDA                )
                                       )
     V.                                )
                                       )
VERMONT DEPARTMENT OF                  )      Case No. 5:21-cv-90
CHILDREN AND FAMILY SERVICES;          )
COMMISSIONER OF ADULT                  )
PROTECTIVES; DEVIL; T.J. DONOVAN;      )
PHIL SCOTT; VERMONT STATE REPS,        )
                                       )
     V.                                )
                                       )
TOWN OF BELLOWS FALLS; SCOTT           )      Case No. 5:21-cv-91
PICKUP; SINETTE; DAVID BEMIS;          )
RAYMOND MASSUCCO; STEVEN               )
ANKUDA; T.J. DONOVAN; PHIL             )
SCOTT; STATE REPS; BRATTLEBORO         )
VERMONT PROBATE COURT;                 )
BRATTLEBORO VERMONT PROBATE            )
COURT JUDGE; BRATTLEBORO               )
VERMONT PROBATE COURT ADMIN,           )
                                       )
     v.                                )


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             Case 5:21-cv-00068-gwc Document 9 Filed 07/07/21 Page 3 of 4




ADAM DIONNE                                     )        Case No. 5:21-cv-92
                                                )
        V.                                      )
                                                )
 KEVIN J. BICKFORD; DEVIL,                      )        Case No. 5:21-cv-93
                                                )
        V.                                      )
                                                )
 VERMONT DEPARTMENT OF LABOR;                   )        Case No. 5:21-cv-94
 ERIC HARRINGTON; MICHELE                       )
 BROWN; ROGER V.; T.J. DONOVAN;                 )
 PHIL SCOTT; BERNIE SANDERS; GAIL               )
 IRELAND; PATRICK LEAHY; PETER                  )
 WELCH; DEVIL; DIRK ANDERSON;                   )
 STATE REPS; GOVERNMENT                         )
 OFFICIALS,                                     )
                                                )
        v.                                      )
                                                )
 UNITED STATES POSTAL SERVICE;                  )       Case No. 5:21-cv-97
 STEVE WRIGHT; AARON WHITCOMB,                  )
                                                )
        Defendants.                             )

                                   ORDER OF DISMISSAL

       In March 2021, Plaintiff Kimberly D. Crosson, representing herself, submitted eighteen

proposed Complaints. She sought to proceed informa pauperis ("IFP"), or without prepayment

of fees, under 28 U.S.C. § 1915. By Order dated May 25, 2021, because Plaintiff's applications

made the showing required under 28 U.S.C. § 1915(a), her requests to proceed IFP were granted.

The comi dismissed all of the proposed Complaints under 28 U.S.C. § 1915(e)(2)(B). In light of

Plaintiff's self-represented status, Plaintiff was provided an oppmiunity to amend her pleadings

on or before June 25, 2021, and warned that failure to file an Amended Complaint would result

in closure of the cases. To date, no further filings have been received. Consequently, these cases

are DISMISSED; the Clerk of Comi is directed to close the case files.

       Ms. Crosson has now sought IFP status in the District of Vermont on 28 occasions. In

each of those cases, the court granted the IFP motions, however, the proposed Complaints were

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dismissed after the required review under 28 U.S .C. § 1915(e)(2)(B). District comis have the

power and the obligation to protect the public and the efficient administration of justice from

individuals who have a history of litigation entailing vexation, harassment and needless expense

to [other paiiies] and an unnecessary burden on the comis and their supporting personnel." Lau

v. Meddaugh , 229 F.3d 121, 123 (2d Cir. 2000) (internal quotation marks omitted); Safir v. US.

Lines, Inc., 792 F.2d 19, 23 (2d Cir. 1986) ("A district comi not only may but should protect its

ability to cany out its constitutional functions against the threat of onerous, multiplicitous, and

baseless litigation.") (internal quotation marks omitted). Thus, the comi may prohibit an

individual from filing new actions in the venue when he or she "abuse[s] the process of the

[c]omis to harass and annoy others with meritless, frivolous, vexatious[,] or repetitive [filings.]"

In re Hartford Textile Corp., 659 F.2d 299,305 (2d Cir. 1981). In light of her history of filing

groundless lawsuits, Ms. Crosson is warned that future frivolous filings in this District may result

in a filing injunction.

        SO ORDERED.

        Dated at Rutland, in the District of Vermont, this   ~'r~ ay of July 2021.

                                                      Geoffrey W. Crawford, Chief Judge
                                                      United States District Court




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